    Case 1:14-cv-05668-RRM-RER Document 36 Filed 01/16/18 Page 1 of 2 PageID #: 517




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                                                                         January 16,2018



         By ECF       [ilíng
         Magistrate Judge Ramon E. Reyes, Jr.
         United States District Cou¡t
         Eastem District ofNew York
         225 Cadman Ylaza East" Rm. N208
         Brooklyn, New York 11201

                           Re: Muchmpr"e's Café. LLC v. City of New Ygrk
                                14-cv-05668 (RRMXRER)

         Your Honor:

                           lVe are the attomeys for the plaintiff Muchmore's Cafe, LLC and defendant City

         of New York in the above-referenced action which seeks a declaratory judgrnent declaring

         Section 20-359 et seq. of the Administrative Code of the City of New York unconstitutional"

                           As directed in the Status Report Order of the Court on December 19,2017, we

         write this joint letter to report on the status of plaintiffs request for attorneys' fees and

         submission of the stipulation of dismissal of this action. The parties have reached an agreement

         regarding attorneys' fees that is acceptable to both sides. Accordingly, w€ have now executed a

         Stiputation and Order of Settlement and Dismissal, dated January      12,z}lï,that will   be frled via

         ËCF today (according to the ECF/ËDNY "help desk" the Stipulation and Order of Settlement

         and Dismissal should not be filed as an att¿chment to this letter, but rather should be filed

         separately).
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                 IVe jointly request that the Court 'oSo Order" the Stipulation and Order of

   Settlement and Dismissal,

                 îhank you.

                                                         Very truly yours,

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                                                         Ave        Brennan
                                                         Assistant Corporation Counsel


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                                                         AndrewMuchrrore
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         Cc:     By ECF fïling

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